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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” =§
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Roy Lam, et al. v. § MAG. JUDGE SHUSHAN
§

| BP PLC, et al
| EDLA No. 10-3183 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,
IT IS HEREBY ORDERED that Plaintiffs’ VINH NGUYNE, MARK NGUYEN,

TRUNG NGUYEN, MELISSA NGUYEN, NHAN PHAN, LINDA NGUYEN and KIM

NGUYEN’S Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice
is hereby in all things is GRANTED.

IT 1S FURTHER ORDERED THAT that the claims of Plaintiffs VINH NGUYNE,
MARK NGUYEN, TRUNG NGUYEN, MELISSA NGUYEN, NHAN PHAN, LINDA
NGUYEN and KIM NGUYEN only, as listed on Exhibit “A” attached to said Motion are
hereby dismissed without prejudice. This Order in no way affects the claims of the
remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
